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Prob 12C (7/93) at re en
UNITED STATES DISTRICT COURT = § | = =
for 2025 MAD -§ PM 2: 03

WESTERN DISTRICT OF TEXAS

Amended Petition for Warrant or Summons for Offender Under pervision

Name of Offender: Michael Edward Escarcega

Case Number: EP-17-CR-02359DCG(1)

Name of Sentencing Judicial Officer: David C. Guaderrama, Senior U.S. District Judge

Date of Original Sentence: March 22, 2018

Original Offense: Importation of a Controlled Substance, to wit: 500 Grams or More of Cocaine, in
violation of 21 U.S.C. § 952 and 960

Original Sentence: Sixty (60) months custody, followed by four (4) years supervised release
Type of Supervision: Supervised Release

Date Supervision Commenced: March 15, 2022

Assistant U.S. Attorney: Christopher K. Mangels

Defense Attorney: Felix Valenzuela
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PREVIOUS COURT ACTION

On April 18, 2023, a Petition for Warrant or Summons for Offender Under Supervision was submitted
to the Court due to Escarcega’s failure to report to the probation officer as instructed, failure to report
a change in address, failure to attend co-occurring treatment and his failure to reside in a residential
reentry center for 120 days. On July 20, 2023, the Court denied the Petition for Warrant or Summons
for Offender Under Supervision and continued Escarcega on supervision.

On November 6, 2024, a Status Hearing was held to address Escarcega’s failure to notify his probation
officer of a change in residence, change in employment, and failure to comply with drug testing. The
Court accepted the probation officer's recommendation to continue with a 90-day curfew.

On December 5, 2024, the Court modified Escarcega’s conditions of supervision and imposed a curfew
schedule for a period of three (3) months.

On December 18, 2024, a Status Hearing was held to address Escarcega’s positive drug screen on
December 4, 2024, and his failure to report to the probation officer as instructed. The Court
admonished Escarcega and ordered him to comply with his conditions of supervision.

*Amended to include Escarcega submitted a positive urinalysis for marijuana on February 10,
2025, and failed to attend co-occurring treatment on February 12, 2025, and February 13, 2025.
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PETITIONING THE COURT

[x] Warrant in effect
[]  Toissue a summons
The probation officer believes that the offender has violated the following conditions of supervision:

Violation Number 1: The defendant shall refrain from any unlawful use of a controlled substance.
The defendant shall submit to one drug test within 15 days of release on probation or supervised
release and at least two periodic drug tests thereafter (as determined by the court), but the condition
stated in this paragraph may be ameliorated or suspended by the court if the defendant's presentence
report or other reliable sentencing information indicates low risk of future substance abuse by the
defendant.

Nature of Noncompliance: On September 23, 2024, October 11, 2024, October 15, 2024,
November 4, 2024, December 4, 2024, January 23, 2025, and February 10, 2025, Escarcega
submitted random drug screens which tested positive for marijuana. Escarcega admitted to the
drug use and/or the drug screens were confirmed positive by the laboratory.

Violation Number 2: The defendant shall participate in a substance abuse treatment program and
follow the rules and regulations of that program. The program may include testing and examination
during and after program completion to determine if the defendant has reverted to the use of drugs.
The probation officer shall supervise the participation in the program (provider, location, modality,
duration, intensity, etc.). During treatment, the defendant must abstain from the use of alcohol and any
and all intoxicants. The defendant shall pay the costs of such treatment if financially able.

Violation Number 3: The defendant shall participate in a mental health treatment program and follow
the rules and regulations of that program. The probation officer, in consultation with the treatment
provider, shall supervise participation in the program (provider, location, modality, duration, intensity,
etc.). The defendant shall pay the costs of such treatment, if financially able. The defendant shall take
all mental health medications that are prescribed by the treating physician.

Nature of Noncompliance: Escarcega failed to attend his co-occurring treatment sessions at
Professional Counseling and Recovery Services (PCRS) on June 18, 2024, July 2, 2024, July
16, 2024, August 23, 2024, November 25, 2024, December 9, 2024, December 23, 2024,
February 12, 2025, and February 13, 2025.

Escarcega failed to submit drug screens as scheduled on June 12, 2024, July 25, 2024, October
31, 2024, November 20, 2024, December 17, 2024, January 7, 2025, and January 22, 2025.

Additionally, Escarcega failed to attend his mental health medication monitoring appointments
at PCRS on July 25, 2024, August 9, 2024, September 20, 2024, and October 31, 2024.
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U.S. Probation Officer Recommendation:

The term of supervision should be

[X] revoked.

[ ] extended for years, for a total term of years.

[ ] modified as follows:

Respectfully submitted, Approved by,

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Yooh wel Yantus) “Decal C . lagg
Xochitl Martinez David C. Trejo
U.S. Probation Officer Supervising U.S. Probation Officer
Office (915) 585-6558 Office (915) 585-5576
Cellular (915) 861-8699 Cellular (915) 861-8369

Date: February 27, 2025
